    Case No. 1:21-cv-03384-PAB-MEH Document 3 filed 12/17/21 USDC Colorado pg 1 of 2


AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          District
                                                    __________     of Colorado
                                                               District of __________

          Public Interest Legal Foundation, Inc.                      )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 21-cv-03384-LTB
                                                                      )
Jena Griswold, in her official capacity as Secretary of               )
          State for the State of Colorado                             )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendants name and address) Jena Griswold
                                           1700 Broadway, Suite 550
                                           Denver, CO 80290




          A lawsuit has been filed against you.


are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.


whose name and address are:                Noel Johnson
                                           32 E. Washington St., Ste. 1675
                                           Indianapolis, IN 46204




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:      12/17/2021                                                                              s/ J. Torres
                                                                                          Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

               I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or

                                                                                                       (name)

                                                                 , a person of suitable age and discretion who resides there,
           on (date)

               I served the summons on (name of individual)                                                                   , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                            ; or

               I returned the summons unexecuted because                                                                           ; or

               Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Servers signature



                                                                                        Printed name and title




                                                                                            Servers address

 Additional information regarding attempted service, etc:
